             Case 2:18-cr-00292-DWA Document 627
                                             621 Filed 10/21/21
                                                       10/15/21 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                                            )
                                                                    )
               v.                                                   )          Criminal No. 18-292
                                                                    )
ROBERT BOWERS                                                       )


                                                     ORDER

        The defendant Robert Bowers, having requested in open Court on October 13, 2021 that

the Court authorize the Clerk of Court to make copies of historical jury data, IT IS HEREBY

ORDERED that the Clerk of Court is permitted to provide both parties with copies of historical jury

data that was requested by Mr. Bowers’ expert during his inspection of the records on

October 8, 2021, including copies of CDs containing the Voter Registration Lists and Master

Jury    Wheels       found in       the     Jury     Office         files.     The contents          of   CDs      containing

historical    jury     data   may      be provided    to      the       parties   and        their    respective      experts

pursuant      to the      Protective      Order entered       in        this   case.    If    the government’s expert

requests copies of additional records, the Clerk of Court is authorized to provide copies of those

records to both parties. This order pertains solely to historical jury information within the scope of

28 U.S.C. § 1868 and this Court’s Order at ECF No. 604.




_10/21/2021_______
                                                                        _________________________
Date
                                                                        Donetta W. Ambrose
                                                                        United States Senior District Judge
